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 8                        UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
                                           ) Case No.
10
     TERRY FABRICANT, individually         )
11   and on behalf of all others similarly ) CLASS ACTION
     situated,                             )
12
                                           ) COMPLAINT FOR VIOLATIONS
13   Plaintiff,                            ) OF:
14                                         )
            vs.                            )    1. NEGLIGENT VIOLATIONS
15                                                    OF THE TELEPHONE
                                           )          CONSUMER PROTECTION
16   DUKE & CO, LLC d/b/a DYNAMIC )                   ACT [47 U.S.C. §227(b)]
     CAPITAL, and DOES 1 through 10,       )    2.    WILLFUL VIOLATIONS
17                                                    OF THE TELEPHONE
     inclusive, and each of them,          )          CONSUMER PROTECTION
18                                         )          ACT [47 U.S.C. §227(b)]
19   Defendant.                            )
                                           )
20                                         ) DEMAND FOR JURY TRIAL
21                                         )
                                           )
22
                                           )
23                                         )
24
                                           )
                                           )
25                                         )
26                                         )
                                           )
27
          Plaintiff TERRY FABRICANT (“Plaintiff”), individually and on behalf of
28



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 1   all others similarly situated, alleges the following upon information and belief
 2   based upon personal knowledge:
 3                                 NATURE OF THE CASE
 4           1.      Plaintiff brings this action individually and on behalf of all others
 5   similarly situated seeking damages and any other available legal or equitable
 6   remedies resulting from the illegal actions of DUKE & CO, LLC d/b/a DYNAMIC
 7   CAPITAL (“Defendant”), in negligently, knowingly, and/or willfully contacting
 8   Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone Consumer
 9   Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s
10   privacy.
11                                JURISDICTION & VENUE
12           2.      Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
13   a resident of California, seeks relief on behalf of a Class, which will result in at
14   least one class member belonging to a different state than that of Defendant, a
15   Florida limited liability company. Plaintiff also seeks up to $1,500.00 in damages
16   for each call in violation of the TCPA, which, when aggregated among a proposed
17   class in the thousands, exceeds the $5,000,000.00 threshold for federal court
18   jurisdiction. Therefore, both diversity jurisdiction and the damages threshold under
19   the Class Action Fairness Act of 2005 (“CAFA”) are present, and this Court has
20   jurisdiction.
21           3.      Venue is proper in the United States District Court for the Central
22   District of California pursuant to 28 U.S.C. 1391(b) because a substantial portion
23   of the events giving rise to the claim occurred in this District.
24                                          PARTIES
25           4.      Plaintiff, TERRY FABRICANT (“Plaintiff”), is a natural person
26   residing in Winnetka, California and is a “person” as defined by 47 U.S.C. § 153
27   (39).
28           5.      Defendant, DUKE & CO, LLC d/b/a DYNAMIC CAPITAL


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 1   (“Defendant”) is business financing company, and is a “person” as defined by 47
 2   U.S.C. § 153 (39).
 3         6.     The above-named Defendant, and its subsidiaries and agents, are
 4   collectively referred to as “Defendants.” The true names and capacities of the
 5   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 6   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 7   names. Each of the Defendants designated herein as a DOE is legally responsible
 8   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 9   Complaint to reflect the true names and capacities of the DOE Defendants when
10   such identities become known.
11         7.     Plaintiff is informed and believes that at all relevant times, each and
12   every Defendant was acting as an agent and/or employee of each of the other
13   Defendants and was acting within the course and scope of said agency and/or
14   employment with the full knowledge and consent of each of the other Defendants.
15   Plaintiff is informed and believes that each of the acts and/or omissions complained
16   of herein was made known to, and ratified by, each of the other Defendants.
17                              FACTUAL ALLEGATIONS
18         8.     Beginning in or around September 2018, Defendant contacted
19   Plaintiff on Plaintiff’s cellular telephone number ending in -1083, in an attempt to
20   solicit Plaintiff to purchase Defendant’s services.
21         9.     Defendant contacted or attempted to contact Plaintiff from telephone
22   number (305) 249-1444.
23         10.    Defendant used an “automatic telephone dialing system” as defined
24   by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiff seeking to solicit its services.
25         11.    Defendant’s calls constituted calls that were not for emergency
26   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
27         12.    The telephone number that Defendant, or their agent, called was
28   assigned to a cellular telephone service for which Plaintiff incurs a charge for


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 1   incoming calls and messages pursuant to 47 U.S.C. § 227 (b)(1).
 2          13.     During all relevant times, Defendant did not possess Plaintiff’s “prior
 3   express consent” to receive calls using an automatic telephone dialing system or an
 4   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 5   227(b)(1)(A).
 6          14.     These telephone calls by Defendant, or its agents, violated 47 U.S.C.
 7   § 227(b)(1).
 8                                  CLASS ALLEGATIONS
 9          15.     Plaintiff brings this action individually and on behalf of all others
10   similarly situated, as a member of the proposed class (“The Class”). The Class is
11   defined as follows:
12
                    All persons within the United States who received any
13                  solicitation/telemarketing   telephone      calls  from
14                  Defendant to said person’s cellular telephone made
                    through the use of any automatic telephone dialing
15
                    system or an artificial or prerecorded voice and such
16                  person had not previously consented to receiving such
17
                    calls within the four years prior to the filing of this
                    Complaint through the date of class certification.
18
19          16.     Plaintiff represents, and is a member of, The Class, consisting of all
20   persons within the United States who received any solicitation telephone calls from
21   Defendant to said person’s cellular telephone made through the use of any
22   automatic telephone dialing system or an artificial or prerecorded voice and such
23   person had not previously not provided their cellular telephone number to
24   Defendant within the four years prior to the filing of this Complaint through the
25   date of class certification.
26          17.     Defendant, its employees and agents are excluded from The Class.
27   Plaintiff does not know the number of members in The Class, but believes the
28   members number in the thousands, if not more. Thus, this matter should be


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 1   certified as a class action to assist in the expeditious litigation of the matter.
 2         18.    The Class is so numerous that the individual joinder of all of its
 3   members is impractical. While the exact number and identities of The Class
 4   members are unknown to Plaintiff at this time and can only be ascertained through
 5   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
 6   The Class includes thousands of members.            Plaintiff alleges that The Class
 7   members may be ascertained by the records maintained by Defendant.
 8         19.    Plaintiff and members of The Class were harmed by the acts of
 9   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
10   and The Class members via their cellular telephones thereby causing Plaintiff and
11   The Class members to incur certain charges or reduced telephone time for which
12   Plaintiff and The Class members had previously paid by having to retrieve or
13   administer messages left by Defendant during those illegal calls, and invading the
14   privacy of said Plaintiff and The Class members.
15         20.    Common questions of fact and law exist as to all members of The
16   Class which predominate over any questions affecting only individual members of
17   The Class. These common legal and factual questions, which do not vary between
18   The Class members, and which may be determined without reference to the
19   individual circumstances of any members, include, but are not limited to, the
20   following:
21                a.     Whether, within the four years prior to the filing of this
22                       Complaint through the date of class certification, Defendant
23                       made any telemarketing/solicitation call (other than a call made
24                       for emergency purposes or made with the prior express consent
25                       of the called party) to a member of The Class using any
26                       automatic telephone dialing system or any artificial or
27                       prerecorded voice to any telephone number assigned to a
28                       cellular telephone service;


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 1                b.    Whether Plaintiff and The Class members were damaged
 2                      thereby, and the extent of damages for such violation; and
 3                c.    Whether Defendant should be enjoined from engaging in such
 4                      conduct in the future.
 5         21.    As a person that received numerous telemarketing/solicitation calls
 6   from Defendant using an automatic telephone dialing system or an artificial or
 7   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
 8   claims that are typical of The Class.
 9         22.    Plaintiff will fairly and adequately protect the interests of the members
10   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
11   class actions.
12         23.    A class action is superior to other available methods of fair and
13   efficient adjudication of this controversy, since individual litigation of the claims
14   of all The Class members is impracticable. Even if every member could afford
15   individual litigation, the court system could not. It would be unduly burdensome
16   to the courts in which individual litigation of numerous issues would proceed.
17   Individualized litigation would also present the potential for varying, inconsistent,
18   or contradictory judgments and would magnify the delay and expense to all parties
19   and to the court system resulting from multiple trials of the same complex factual
20   issues. By contrast, the conduct of this action as a class action presents fewer
21   management difficulties, conserves the resources of the parties and of the court
22   system, and protects the rights of each member of The Class.
23         24.    The prosecution of separate actions by individual members of The
24   Class would create a risk of adjudications with respect to them that would, as a
25   practical matter, be dispositive of the interests of the other members not parties to
26   such adjudications or that would substantially impair or impede the ability of such
27   non-party members to protect their interests.
28         25.    Defendant has acted or refused to act in respects generally applicable


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 1   to The Class, thereby making appropriate final and injunctive relief with regard to
 2   the members of The Class as a whole.
 3                             FIRST CAUSE OF ACTION
 4          Negligent Violations of the Telephone Consumer Protection Act
 5                                   47 U.S.C. §227(b).
 6                                 On Behalf of The Class
 7         26.    Plaintiff repeats and incorporates by reference into this cause of action
 8   the allegations set forth above at Paragraphs 1-25.
 9         27.    The foregoing acts and omissions of Defendant constitute numerous
10   and multiple negligent violations of the TCPA, including but not limited to each
11   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
12   47 U.S.C. § 227 (b)(1)(A).
13         28.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
14   Plaintiff and The Class members are entitled to an award of $500.00 in statutory
15   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
16         29.    Plaintiff and The Class members are also entitled to and seek
17   injunctive relief prohibiting such conduct in the future.
18                           SECOND CAUSE OF ACTION
19    Knowing and/or Willful Violations of the Telephone Consumer Protection
20                                           Act
21                                   47 U.S.C. §227(b)
22                                 On Behalf of The Class
23         30.    Plaintiff repeats and incorporates by reference into this cause of action
24   the allegations set forth above at Paragraphs 1-25.
25         31.    The foregoing acts and omissions of Defendant constitute numerous
26   and multiple knowing and/or willful violations of the TCPA, including but not
27   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
28   and in particular 47 U.S.C. § 227 (b)(1)(A).


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 1         32.    As a result of Defendant’s knowing and/or willful violations of 47
 2   U.S.C. § 227(b), Plaintiff and The Class members are entitled to an award of
 3   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 4   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 5         33.    Plaintiff and The Class members are also entitled to and seek
 6   injunctive relief prohibiting such conduct in the future.
 7                                PRAYER FOR RELIEF
 8   WHEREFORE, Plaintiff requests judgment against Defendant for the following:
 9                             FIRST CAUSE OF ACTION
10          Negligent Violations of the Telephone Consumer Protection Act
11                                   47 U.S.C. §227(b)
12                As a result of Defendant’s negligent violations of 47 U.S.C.
13                §227(b)(1), Plaintiff and The Class members are entitled to and
14                request $500 in statutory damages, for each and every violation,
15                pursuant to 47 U.S.C. 227(b)(3)(B).
16                Any and all other relief that the Court deems just and proper.
17                           SECOND CAUSE OF ACTION
18    Knowing and/or Willful Violations of the Telephone Consumer Protection
19                                           Act
20                                   47 U.S.C. §227(b)
21                As a result of Defendant’s willful and/or knowing violations of 47
22                U.S.C. §227(b)(1), Plaintiff and The Class members are entitled to
23                and request treble damages, as provided by statute, up to $1,500, for
24                each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
25                U.S.C. §227(b)(3)(C).
26                Any and all other relief that the Court deems just and proper.
27
28



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 1         34.    Pursuant to the Seventh Amendment to the Constitution of the United
 2   States of America, Plaintiff is entitled to, and demands, a trial by jury.
 3
 4
 5         Respectfully Submitted this 4th Day of January, 2021.
 6                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 7
                                       By: /s/ Todd M. Friedman
 8                                         Todd M. Friedman
 9
                                           Law Offices of Todd M. Friedman
                                           Attorney for Plaintiff
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